     Case 1:18-cv-06950-PGG Document 23 Filed 11/28/18 Page 1 of 5



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Kyle Donovan,
                                                               Case No. 1:18-cv-06950
            Plaintiff,

                            v.

  East Twelfth Street Tenants Housing
  Development Fund Corporation,

            Defendant.




MEMORANDUM IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

       Plaintiff Kyle Donovan, by and through his attorneys, Jones Law Firm, P.C.,

hereby respectfully submits this memorandum of law in opposition to Defendant’s

Motion to Dismiss the Verified Complaint pursuant to Federal Rule of Civil Procedure

12(b)(1).

                                     BACKGROUND

       On August 2, 2018, Plaintiff filed its Verified Complaint in this matter against

Defendant. In it, Plaintiff asserts that Defendant unlawfully discriminated against him, in

violation of the Fourteenth Amendment, when it refused to consider Plaintiff’s purchase

of a unit at 527 East 12th Street, New York, NY along with the accompanying 250 shares

in the corporation.      Plaintiff, an African-American male, had already entered into a

purchasing agreement with the seller when Defendant denied his application.

       Defendant is a not-for-profit housing cooperative corporation under General

Business Law § 352-eeee and Private Housing Finance Law Article XI. This status


                                             1
     Case 1:18-cv-06950-PGG Document 23 Filed 11/28/18 Page 2 of 5



creates a statutory exemption from the Rent Stabilization Law (Administrative Code of

City of New York § 26-504 [a]; Rent Stabilization Code § 2520.11 [j], [l]). As an HDFC,

Defendant is a form of co-op housing intended for low-and moderate-income New

Yorkers.

       On May 11, 2018, Plaintiff entered into a contract with the non-party seller to

purchase a housing unit and 250 shares in the corporation for $300,000. Plaintiff agreed

to pay for the unit with all cash and Plaintiff’s income satisfied the income restricts for

the purchase of a unit in this HDFC. However, despite these qualifications, on June 18,

2018, Plaintiff’s application to purchase the unit was denied without an offer to interview

him or without a reason for his rejection. Through a response to a demand letter sent by

Plaintiff’s counsel, Plaintiff was eventually told that the Board did not like what it “saw”

when it ran a search of Plaintiff’s name on www.google.com.               When a search for

Plaintiff’s name is done via Google, images of Plaintiff show him to be an African-

American man. After the denial of Plaintiff’s application, the unit continued to be listed

for sale. Defendant has yet to present a nondiscriminatory reason, or indeed any reason,

for refusing to consider Plaintiff’s application or even interview him.

       Defendant’s denial of Plaintiff’s application without interviewing him or

otherwise giving any due consideration to his application based on what was seen from a

Google search, is the definition of arbitrary and capricious. Defendant’s behavior also

establishes a prima facie case of invidious racial discrimination.

                                  LEGAL STANDARD

       When considering motion to dismiss for lack of subject matter jurisdiction,

pursuant to Rule 12(b)(1), a court “must accept as true all material factual allegations in




                                             2
      Case 1:18-cv-06950-PGG Document 23 Filed 11/28/18 Page 3 of 5



the complaint” and jurisdiction must be shown affirmatively. Hanig v. Yorktown Cent.

Sch. Dist., 384 F. Supp. 2d 710, 716 (S.D.N.Y. 2005).

                                      ARGUMENT

A.     Defendant’s Status as a State Actor is Sufficient to Establish Subject Matter
       Jurisdiction

       New York law has held that the nature of the relationship between HDFC and the

government is so entwined that HDFCs constitute state actors, and as such trigger

constitutional protections. See, e.g., 512 E. 11th St. HDFC v Grimmet, 181 A.D.2d 488

(1st Dept 1992), appeal dismissed 80 N.Y.2d 892 (1992) (leading case establishing that

constitutional protections apply). Like the instant action, the subject building in Grimmet

was previously owned by the City of New York and converted to not-for-profit housing

under General Business Law § 352-eeee and Private Housing Law article XI. Id. at 488.

Furthermore, Defendant is similarly subject to government restrictions regarding the use,

sale, and transfer of shares.     See, id., at 489.    As a Housing Development Fund

Corporation (“HDFC”), Defendant derives a key benefit from its arrangement with the

City, in that in exchange for accepting income restricts on purchasers and shareholders

HDFCs receive a reduction in their property taxes. As such, Plaintiff is similarly due the

constitutional protection afforded to the Plaintiff in the Grimmet case.

       The Fourteenth Amendment prohibits state actors from discriminating against

individuals in an arbitrary and capricious manner. See Gelb v. Board of Elections

of New York, 224 F.3d 149, 157 (2d Cir. 2000) (citing Village of Willowbrook v. Olech,

528 U.S. 562 (2000). Plaintiff maintains that Defendant failed to provide a legitimate

reason for denying his application, declining to interview him or otherwise consider him

despite his qualifications.



                                             3
     Case 1:18-cv-06950-PGG Document 23 Filed 11/28/18 Page 4 of 5




B.     Defendant is Not Entitled to Attorney’s Fees and Costs

       Defendant goes on to improperly request that the Court effectively sanction

Plaintiff and award attorney’s fees and cost in the amount of $25,000 on the grounds that

there were allegedly no facts to substantiate plaintiff’s claims, therefore making the

action “frivolous, unreasonable, and without foundation.” Defendant’s argument wholly

disregards the well-pled facts detailed in the Verified Complaint.

       Plaintiff is an African-American male, a member of a protected class, who entered

into an agreement to purchase a unit within Defendant’s co-op. Despite having executed

an agreement, satisfied the income restrictions, and agreeing to pay for the Unit in all

cash, Plaintiff’s application was summarily denied. Only after receiving a demand letter

from Plaintiff’s counsel, did Defendant attempt to proffer an explanation for its decision.

And in doing so, Defendant only further bolstered Plaintiff’s allegations that his

application was denied on the basis of his race. Defendant’s argument fails to address

any of these factual allegations, nor does it provide a non-discriminatory explanation

negating Plaintiff’s claims. As such, Defendant’s request for costs and attorney’s fees

should be denied.

                                     CONCLUSION

       For the foregoing reasons, it is respectfully submitted that Defendant’s Motion to

Dismiss be denied.




                                             4
     Case 1:18-cv-06950-PGG Document 23 Filed 11/28/18 Page 5 of 5



Dated: November 28, 2018


                                         Respectfully submitted,

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